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 8
                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON
 9

10 ELIZABETH WILSON,                                    fCASE NO.:
11                                                      .
                 Plaintiff,
12                                                      PLAINTIFF’S COMPLAINT
           vs.
13
     HOLLAND AMERICA LINE N.V. LLC,                     (DEMAND FOR JURY TRIAL)
14 HOLLAND AMERICA LINE N.V., HOLLAND

15 AMERICA LINE INC., HOLLAND AMERICA
     LINE – USA INC., d/b/a HOLLAND AMERICA,
16 DOES 1 – 5,

17
                 Defendants.
18

19

20         ELIZABETH WILSON (“Plaintiff”), by and through her attorneys NELSON
21 & FRAENKEL, LLP, files this Complaint against Defendants HOLLAND

22 AMERICA LINE N.V. LLC, HOLLAND AMERICA LINE N.V., HOLLAND

23 AMERICA LINE INC., HOLLAND AMERICA LINE – USA INC., doing business

24 as HOLLAND AMERICA, owners and operators of the vessel M/S NIEUW

25 AMSTERDAM.

26         Plaintiff respectfully alleges as follows:
27         ///
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 1                                    INTRODUCTION
 2                                      A. The Parties
 3         1.    At all times material, Plaintiff, ELIZABETH WILSON, is and was an
 4 adult and a resident of Philadelphia, Pennsylvania.

 5         2.    Defendants HOLLAND AMERICA LINE N.V. LLC, HOLLAND
 6 AMERICA        LINE N.V., HOLLAND AMERICA LINE INC., HOLLAND
 7 AMERICA LINE – USA INC., doing business as HOLLAND AMERICA,

 8 (hereinafter collectively “HAL”), were and are for-profit corporations with their

 9 world-wide headquarters, principal address, and principal place of business located in

10 Seattle, Washington. HAL was the owner and operator of the vessel M/S NIEUW

11 AMSTERDAM.

12         3.    The full extent of the facts linking the fictitiously designated defendants,
13 Does 1-5, with the causes of action alleged herein are unknown to the Plaintiff, and

14 the true names and capacities, whether individual, plural, corporate, partnership,

15 associate, or otherwise of Does 1-5, inclusive, are unknown to Plaintiff. Plaintiff

16 therefore sues said defendants by such fictitious names. The Plaintiff is informed and

17 believes that each of the defendants designated herein as a “Doe” is negligently,

18 wantonly, recklessly, tortuously and unlawfully responsible in some manner for the

19 events and happenings herein referred to, and/or is strictly liable in tort for injuries

20 and damages with respect to Plaintiff as herein alleged. Plaintiff will hereafter ask

21 leave of Court to amend this Complaint to show said defendants’ true names and

22 capacities and to state the manner in which each fictitious defendant is so responsible

23 when the same have been ascertained.

24                                   B. Jurisdiction
25         4.    This Court has diversity jurisdiction over Plaintiff’s claims under 28
26 U.S.C. §1332 because the amount in controversy exceeds seventy-five thousand dollars
27 ($75,000), and Plaintiff is a citizen of a different state than the Defendants.

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 1         5.      In the alternative, this Court has jurisdiction over Plaintiff’s claims under
 2 the maritime and admiralty jurisdiction of the Court, pursuant to Article III, §2 of the

 3 United States Constitution, delegating jurisdiction over admiralty cases to the federal

 4 courts, and 28 U.S.C. §1333.

 5         6.      Federal admiralty jurisdiction extends to all navigable waters, salt or
 6 fresh, with or without tides, natural or artificial, which are in fact navigable. The term

 7 ‘navigable waters’ means a body of water which, in its present configuration,

 8 constitutes a highway of commerce, between the states or with foreign countries. See

 9 Complaint of Paradise Holdings, Inc., 795 F.2d 756 (9th Cir. 1986) (“To invoke

10 federal admiralty jurisdiction in tort cases, the tort must occur on navigable waters

11 and bear a significant relationship to traditional maritime activity.”).

12         7.      At all times material, the Plaintiff’s injuries occurred while she was on
13 board a vessel on navigable waters.

14                                           C. Venue
15         8.      Venue is proper in the Western District of Washington pursuant to 18
16 U.S.C. §1965 and 28 U.S.C. §1391, and because (1) Defendants are found and transact

17 business in this district; (2) Defendants maintain a physical presence and their principal

18 place of business in Seattle within this district; and (3) The passenger-ticket issued to

19 Plaintiff by HAL contains a forum selection clause, that HAL asserts requires all claims

20 to be filed in this United States District Court.

21                                   D. Personal Jurisdiction
22         9.      Defendants, at all times material hereto, personally or through an agent:
23              a. Maintained their principal place of business in this state and county;
24              b. Operated, conducted, engaged in or carried on a business venture in this
25                 state and or county; and/or;
26              c. Were engaged in substantial activity within this state; and/or
27              d. Operated vessels in the waters of this state; and/or
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 1              e. Purposefully availed themselves of the benefits of conducting activities
 2                 in Washington by directing their activities toward this state, thereby
 3                 obtaining the benefits and protections of this state’s laws.
 4        10.      Defendants were engaged in the business of providing to the public, and
 5 Plaintiff in particular, for compensation, vacation cruises aboard its vessels which

 6 travel worldwide.

 7                                   GENERAL ALLEGATIONS
 8        11.      At all times material hereto, Defendants owned, operated, managed,
 9 maintained and/or controlled the vessel, M/S NIEUW AMSTERDAM.

10        12.      HAL is a common carrier and Plaintiff’s claims of negligence herein fall
11 within the parameters of 46 U.S.C. §30509 prohibitions against disclaimers and/or

12 waivers. The statute’s language is broad and unqualified, and it prohibits common

13 carriers from limiting their liability for “personal injury or death caused by negligence

14 or fault of the owner [of the passenger vessel] or the owner’s employees or agents.”

15 See id. 30509(a)(1)(A).

16        13.      On or about November 1, 2019, Plaintiff was a paying passenger on a
17 HAL cruise ship, M/S NIEUW AMSTERDAM, on a seven (7) day Caribbean cruise.

18        14.      On the above referenced date, while Plaintiff was walking in the Buffet
19 area through an archway, she tripped on a metal strip on the floor falling hard on her

20 right shoulder.

21        15.      Upon information and belief, the incident occurred in or around the Lido
22 Market, on Deck 9, aboard the M/S NIEUW AMSTERDAM.

23        16.      As a direct and proximate result of the incident, Plaintiff sustained severe
24 and permanent injuries, including a right humerus fracture, necessitating surgical

25 treatment.

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 1                                     COUNT ONE
 2                                 FOR NEGLIGENCE
 3                                (Against All Defendants)
 4        17.    Plaintiff hereby incorporates by reference, as though fully set forth
 5 herein, paragraphs 1-16, and alleges as follows.

 6        18.    At all times material, Defendants owed a duty to their passengers,
 7 including Plaintiff, to exercise reasonable care for the health, welfare, and safety of

 8 their passengers.

 9        19.    At all times material, Defendants, by and through their vessel, crew,
10 agents, servants, officers, staff and/or employees, who were acting in the course and

11 scope of their employment and/or agency, undertook to create a dangerous and

12 hazardous condition.

13        20.    At all times material, Defendants, by and through their vessel, crew,
14 agents, servants, officers, staff and/or employees, who were acting in the course and

15 scope of their employment and/or agency, were negligent, careless and breached their

16 duty of care to Plaintiff, by committing the following acts and/or omissions, including,

17 but not limited to:

18         a. Leaving a defect on the floor thereby obstructing and rendering hazardous
19            a foreseeable path of travel; and/or

20         b. Failing to maintain the floor in a reasonably safe condition; and/or
21
           c. Failing to adequately warn Plaintiff of the dangerous conditions on the
22            subject Buffet area; and/or
23
           d. Failing to keep and maintain the subject area in a reasonably safe condition;
24            and/or
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           e. Failing to inspect the subject area; and/or
26
27         f. Creating a dangerous condition and/or failing to remedy a dangerous
              condition which was known by the Defendants and which in the exercise
28            of reasonable care should have been known by the Defendants; and/or

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 1         g. Failing to adopt and implement proper and adequate policies, protocols and
 2            procedures for inspection of passenger transit areas, including the subject
              Buffet area; and/or
 3

 4         h. Failing to take feasible and reasonable steps to eliminate a dangerous
              condition which was known by the Defendants and which in the exercise
 5            of reasonable care should have been known by the Defendants; and/or
 6
           i. Failing to mark off the area; and/or
 7

 8         j. Any and all other acts or omissions constituting a breach of Defendants’
              duty to use reasonable care discovered during litigation.
 9

10        21.    At all material times, HAL had exclusive custody and control of the

11 above-named vessel.

12        22.    At all material times, HAL created and/or knew or should have known

13 of the above-described conditions through the exercise of reasonable care.

14        23.    At all material times, HAL negligently failed to determine the hazards

15 on the vessel to Plaintiff, failed to eliminate the hazard, failed to modify the hazard

16 and failed to properly warn Plaintiff of the hazard.

17        24.    The above conditions were neither open nor obvious to Plaintiff, and

18 accordingly, HAL owed Plaintiff, the duty to warn and/or correct them.

19        25.    As a direct and proximate result of HAL’s negligence, Plaintiff was

20 severely and permanently injured on or about November 1, 2019.

21        26.    As a further and direct proximate result of Defendant HAL’s negligence,

22 Plaintiff sustained serious and permanent injuries, pain and suffering, disability,

23 mental anguish, inconvenience, and has incurred medical expenses in the past and

24 will incur medical expenses in the future. All of said damages are permanent and

25 continuing in nature.

26                                   PRAYER FOR RELIEF

27        WHEREFORE, Plaintiff prays for judgment against Defendants, and for each

28 of them, as follows:
          1.     For general and special damages according to proof;
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 1    2.    For economic damages;
 2    4.    For prejudgment interest as allowed by law;
 3    5.    For costs of suit incurred herein;
 4    6.    For such other and further relief as the Court may deem proper.
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 6                                            NELSON & FRAENKEL, LLP

 7                                            By: s/Carlos F. Llinás Negret
 8                                                Carlos F. Llinás Negret
                                                  Attorneys for Plaintiff
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10                              JURY TRIAL DEMAND
11    Plaintiff hereby demands a trial by jury.
12    Date: July 1, 2021.
13
                                              NELSON & FRAENKEL, LLP

14                                            By: s/ Carlos F. Llinás Negret
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                                                   Carlos F. Llinás Negret
                                                   Attorneys for Plaintiff
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